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                       UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


             Chambers of                                       Martin Luther King Federal Building
     Leda Dunn Wettre                                                   & U.S. Courthouse
   United States Magistrate Judge

                                                                          (973) 645-3574


                                          January   29, 2016


VIA REGULAR & CERTIFIED MAIL, R.R.R.
Vincent & Angelina Rosarbo, Pro Se
23 Thistle Meadow Lane
Branford, CT 06405


                                    ORDER TO SHOW CAUSE


          RE:    N.V.E., INC. v. PALMERONI et al
                 2 :06-cv-05455-MCA-LDW


Dear Mr. & Ms. Rosarbo:

        You are directed to show cause before me on February 29, 2016 at 2:00 p.m. in
Courtroom 4A why monetary/reprimand sanctions should not be imposed pursuant to Fed. R.
Civ. P. 16(f). This Order to Show Cause arises out of your failure to attend any of the five (5) in-
person conferences scheduled before the undersigned, including four (4) settlement conferences,
for which all parties were ordered to appear in person.

          You shall submit any written submissions with the Court no later than February 19, 2016.

          SO ORDERED.




                                               ‘-Hon. Leda Dunn Wettre
                                                United States Magistrate Judge


  Orig:    Clerk
  Cc:      Hon. Madeline Cox Arleo, U.S.D.J.
           All parties
